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United States District Court

S()UTHERN DISTRICT OF INDIANA

UNITED sTATEs oF AMERICA
CRIMINAL COMPLAINT

V' CASE NUMBER: l:l7-mj-Ol 1 14
CHRISTOPHER JOHNSON
I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about December 13, 2017, in Marion County, in the Southern District of lndiana

defendant did,

Count l: Possession with Intent to Distribute a Controlled Substance in violation of Title 21 , United States Code,
Sections 84l(a)(1)

Count 21 Discharging a firearm during and related to a crime of violence in violation of Title 18, United States
Code, 924(0) `

Count 3: Felon in Possession of a Firearm and Ammunition in violation of Title 18, United States Code, Section
922(g)(l).

l further state that l am a Special Agent, and that this complaint is based on the following facts:
See attached AFFIDAVIT

M ReardorfSpecial Agent, ATF

Continued on the attached sheet and made a part hereof.

Sworn to before me, and subscribed in my presence

December 15’ 2017 at lndianapoli`.§,~l'r`idiana:_""`.`_
Date _\ ,:\_ ii

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/ 4

Mark J. Dinsmore, U.S. Magistrate,.ludge
Name and Title of Judicial Officer

 

 

 

 

 

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AFFIDAVIT IN SUPPORT OF ARREST WARRANT AND COMPLAINT
l, Brian Reardon swear and affirm the following to be true;
I. INTRODUCTION AND AGENT BACKGROUND

l. Your Affiant is a Special Agent (SA) for the Bureau of Alcohol, Tobacco, Firearms,
and Explosives (ATF), and has served in this capacity since March 2015. Your Affiant is currently
assigned to the Indianapolis Group I Field Office Achilles Task Force and charged with
investigating violations of federal firearms, explosives, and arson laws; and offenses enumerated
in Title 18 and Title 26 of the United States Code, for which your Affiant has received formal
training at the Federal Law Enforcement Training Center and the ATF National Academy.

2. `Prior to becoming a Special Agent with ATF, your Affiant Was a police officer and
narcotics investigator with the New Albany Indiana Police Department for approximately six
years. In_addition to day to day narcotics investigations your Affiant was assigned as a Task Force
y Officer (TFO) to the Federal Bureau of lnvestigations Safe Streets Gang Task Force for three
years.

3. Your Affiant has become aware of the facts and circumstances described below through
personal observation, training and experience, information provided by other law enforcement
officers, witness interviews, and suspect interview(s). Since this affidavit is being submitted for
the limited purpose of securing an arrest warrant, your Affiant has not included each and every
fact known concerning this investigation Rather, your Affiant has set forth only those facts that
are believed to be necessary to establish probable cause to issue an arrest warrant. The information
included herein is either personally known to your affiant or has been relayed by other law

enforcement officers during the course of the investigation

 

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4. This affidavit is submitted in support of an application for a Warrant for Arrest of l)
CHRISTOPHER JOHNSON (“JOHNSO ”), black male, date of birth XX/XX/78. Based on your
Affiant’s training and experience, and based on the facts below, your Affiant believes that
JOHNSON committed the following crimes:

l) Possession with Intent to Distribute a Controlled Substance in violation of

Title 21, United States Code, Sections 84l(a)(l); v

2) Discharging a firearm during and related to a crime of violence in violation of

Title 18, United States Code, 924(c);

3) Felon in Possession of a Firearrn and Ammunition in violation of Title 18,

United States Code, Section 922(g)(l).

II. Bacl£ground of Investigation

5. On December 13, 2017, lndianapolis Metropolitan Police Department (IMPD) SWAT
officers executed a “no-knock” search warrant at 2122 Spann Avenue, lndianapolis, Indiana,
within the Southern District of Indiana.

6. Officers were dressed in department-issued uniforms and the word “POLICE” on the
front and back of their body armor., ,Upon entry, an individual later identified to be JOHNSON
fired multiple shots at the officers, striking one officer in the forearm.

7. Officers returned fire, striking JOHNSON several times. JOHNSON was provided
medical attention. Two juveniles and two other adults were in the residence.

8. Officers obtained an additional search warrant for the residence and recovered a chrome
.38 special revolver from the kitchen floor, surrounded by a pool of blood. The firearm was later

collected and found to have five spent shell casings in the cylinder.

 

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9. While receiving medical care, officers found approximately fifteen (15) grams of heroin,
approximately seventy-five (75) grams of cocaine and approximately thirty (3 O) grams of
marijuana in JOHNSON’s pockets.

10. The firearm was determined to be a Taurus .38 special revolver-bearing serial number
ZK92763. The firearm was not manufactured within the State of lndiana and therefore traveled in
interstate commerce prior to JOHNSON’s possession of it.

ll. A review of JOHNSON’s criminal history revealed that he has a prior conviction for
a crime punishable by more than one (l) year of imprisonment, to wit: Knowingly and
lntentionally Distributing Cocaine, Possession of Marijuana, and two counts of being a Felon in
Possession of a Firearrn in the United States District Court for the Westem District of Kentucky

under Cause No. 4;02€R-00014-001-M, on or about December 14, 2015.

 

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III. CONCLUSION
12. Based on the foregoing, there is probable cause to believe that CHRISTOPHER

JOHNSON committed the following criminal acts:

l) Possession with Intent to Distribute a Controlled Substance in violation of

Title 21, United States Code, Sections 84l(a)(1);

2) Discharging a firearm during and related to a crime of violence in violation of

Title 18, United States Code, 924(c);

3) Felon in Possession of a Firearm and Ammunition in violation of Title 18,

United States Code, Section 922(g)(l).

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BH`§n'C./Reardon, Special Agent
Bureau of Alcohol, Tobacco and Firearms

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Sworn and subscribed to bef§i_'e`me 'thi
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Mark’i:§~ _'m§mr/r t `

United ' tes'_, i`strate Judge

Southern Distric_ Df`lridiana

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